Case 2:05-cr-20153-.]DB Document 24 Filed 08/01/05 Page 1 of 2 PagelD 30

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UN|TED STATES OF AMER|CA,
P|aintiff,

VS.
CR. NO. 05-20153-5

CHARLES MONGER,

Deiendant.

 

OFiDEFi ON CONT|NUANCE AND SPEC|FY|NG PEF'l|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance and a change of plea setting.

The Ccurt granted the request and set change of plea date for Thursday, August
18. 2005 at 11:00 a.m., in Courtroom 1. ttth Floor of the Federa| Bui|ding, Nlemphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ot justice served in allowing for additional

time to prepare outweigh the need for a spee y trial.

  
 
 

|T |S SO ORDEF{ED this l day Of 2005.

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This notice confirms a copy of the document docketed as number 24 in
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Honorable J. Breen
US DISTRICT COURT

